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June 24, 2020

Via ECF
The Honorable Hildy Bowbeer
United States District Court
316 North Robert Street
632 Federal Building
St. Paul, MN 55101

         Re:       Fredin v. Miller et. al. (18-cv-00466 SRN/HB)
                   Fredin v. Middlecamp (17-cv-03058 SRN/HB)

Dear Magistrate Judge Bowbeer,

I write on behalf of Defendants in the above-entitled matters. Yesterday, and again today, Plaintiff
filed a number of documents under seal (17-cv-03058, Doc Nos. 164-66; 18-cv-00466, Doc. Nos.
156-158.) Plaintiff also filed a redacted Declaration, along with redacted exhibits. (17-cv-03058,
Doc No. 167; 18-cv-00466, Doc. No. 159.) Plaintiff has not provided copies of the sealed or
unredacted copies to Defendants’ counsel as directed by the Court and as further required by the
Rules of Civil Procedure and Local Rules of this Court.

These documents are the same documents the Court previously concluded contain no
information that justifies withholding them from review by Defendants’ counsel. (17-cv-
03058; Doc. No. 151 at 9.) In that Order, the Court directed “Plaintiff to re-file the
Declaration and attached exhibits without the ex parte designation within seven days of the
date of this Order.” Id. This Court also ordered that Plaintiff “file the documents under seal
in accordance with Local Rule 5.6, provided he files them in such a way that they are at
least accessible to counsel of record.” Id. Plaintiff has not complied with this Court’s Order.

Defendants counsel has requested that Plaintiff provide copies of these documents to
counsel, but Plaintiff has not responded. Defendants request access to these documents and
respectfully request an Order to Show Cause as to why Plaintiff has not complied with
Court’s order and the rules of this court.

                                                  Sincerely,
                                                  /s/ K. Jon Breyer
                                                  K. Jon Breyer

cc:      Brock Fredin (via ECF)
4849-4183-5457.1
